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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

 NORTHSTAR AVIATION L.L.C., et al.,                       )
                                                          )
          Plaintiffs/Counterclaim Defendants,             )
                                                          )
          v.                                              )       C.A. No. 1:18cv-00191-TSE-JFA
                                                          )
 ALDEN BURT DEFENDANT ALBERTO,                            )
     a/k/a Reno Defendant Alberto,                        )
                                                          )
          Defendant/Counterclaim Plaintiff.               )
                                                          )

     PLAINTIFFS’/COUNTERCLAIM DEFENDANTS’ MOTION IN LIMINE WITH
     RESPECT TO REFLEX RESPONSES MANAGEMENT CONSULTANCY, L.L.C.

          COMES NOW, Plaintiffs/Counterclaim Defendants NorthStar Aviation L.L.C. and

 NorthStar Aviation USA, LLC (“Plaintiffs”) move the Court in limine to preclude

 Defendant/Counterclaim Plaintiff Alden Burt Defendant Alberto’s (“Defendant”), including

 Defendant’s attorneys and witnesses, from mentioning or averring to, in the presence of the jury,

 either directly or indirectly, upon voir dire, statement of the case, interrogation of the witnesses,

 argument, objections before the jury, or by any other means or manner any of the matters set forth

 below.

          Plaintiffs further request that attorneys be specifically instructed to inform all of

 Defendant’s witnesses not to volunteer, inject, disclose, state or mention in the presence of the jury

 any of the matters enumerated below.

          Plaintiffs maintain that the following matters are generally inadmissible, irrelevant, and

 prejudicial to Plaintiffs’ right to a fair and impartial trial. Violation of any or all of these

 instructions will constitute harm to Plaintiffs and will deprive Plaintiffs of a fair and impartial trial.




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 Plaintiffs request that the Court instruct all counsel that the failure to abide by such Order of the

 Court may constitute contempt.

 *****

         1. Documents involving Reflex Responses Management Consultancy, L.L.C. (“R2”),

 namely, (1) contracts, (2) governing documents, and/or (3) financial records. Plaintiffs move to

 exclude any and all arguments, evidence, testimony (including expert testimony), and/or

 references regarding, or inquiries attempting to elicit testimony regarding these documents.

 *****

         This motion is made under the provisions of Federal Rule of Evidence and is based upon

 the supporting Memorandum of Points and Authorities, the pleadings and papers on file in this

 action, and upon such of the argument and evidence as may be presented prior to or at the hearing

 of this matter.


         Dated: February 7, 2019                   Respectfully submitted,

                                                   NORTHSTAR AVIATION, L.L.C. and
                                                   NORTHSTAR AVIATION USA LLC

                                                   By: DUNLAP BENNETT & LUDWIG PLLC


                                                                 /s/ Kevin T. Streit
                                                       Of Counsel

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 Counsel for Plaintiffs/Counterclaim Defendants




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this, the 7th day of February, 2019, I electronically filed the
 foregoing with the Clerk of the Court using the Court’s CM/ECF system, which will send
 notification of such filing to the following:

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